
PER CURIAM.
We find that the trial court departed from the essential requirements of law when it denied the motion filed by the petitioners herein (who were among the defendants in the action below) wherein the petitioners sought to disqualify the attorneys for the appellees (who are the plaintiffs below) from also representing one of the defendants below, to-wit: VIP Medical Centers Inc.
In view of the fact that the conflict that appears to have been created by the foregoing has not been negated or dispelled by the materials and arguments presented to this Court, we grant the petition filed herein and quash the order under review. Accordingly, this matter is remanded with directions to the trial court to grant the petitioners’ previously filed motion to disqualify counsel from representing any party in the cause below.
